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Model Plan                           UNITED STATES BANKRUPTCY COURT                                       Trustee:      Marshall        Meyer
11/22/2013                            NORTHERN DISTRICT OF ILLINOIS                                                     Stearns         Vaughn
                                        CHICAGO DIVISION (EASTERN)
In re:                                                                ) Case No.                   17              B            24789
                                                                      )
                    Maurita C Young                                   )
                                                                      )
                                                                      )      Modified           Chapter 13 Plan, dated 10/11/2017
Debtors.
    A check in this box indicates that the plan contains special provisions, set out in Section G. Otherwise, the plan
includes no provisions deviating from the model plan adopted by the court at the time of the filing of this case.
 Section A         1. As stated in the debtor's Schedule I and J, (a) the number of persons in the debtor's household is  2
                   (b) their ages are 1 Adult, 1 Child ; (c) total household monthly income is $3,403.35 : and (d)
 Budget            total monthly household expenses are $2,503.00 , leaving $900.35 available monthly for plan pay-
 items
                   ments.
                   2. The debtor's Schedule J includes $                        for charitable contributions; the debtor represents that the
                   debtor made substantially similar contributions for              0          months prior to filing this case.

 Section B         1. The debtor assumes only the unexpired leases and executory contracts listed in Section G of this plan; all
                   other unexpired leases and executory contracts are rejected. Both assumption and rejection are effective as
 General           of the date of plan confirmation.
 items
                   2. Claims secured by a mortgage on real property of the debtor, set out in Section C or in Paragraph 2 of Sec-
                   tion E of this plan, shall be treated as follows:
                   (a) Prepetition defaults. If the debtor pays the cure amount specified in Paragraph 5 of Section E, while
                   timely making all required postpetition payments, the mortgage will be reinstated according to its original
                   terms, extinguishing any right of the mortgagee to recover any amount alleged to have arisen prior to the fil-
                   ing of the petition.
                   (b) Costs of collection. Costs of collection, including attorneys' fees, incurred by the holder after the filing
                   of this bankruptcy case and before the final payment of the cure amount specified in Paragraph 5 of Section
                   E may be added to that cure amount pursuant to order of the court on motion of the holder.
                   3. The holder of any claim secured by a lien on property of the estate, other than a mortgage treated in Sec-
                   tion C or in Paragraph 2 of Section E, shall retain the lien until the earlier of (a) payment of the underlying
                   debt determined under nonbankruptcy law, or (b) discharge under 11 U.S.C. § 1328, at which time the lien
                   shall terminate and be released by the creditor.
                   4. The debtor shall retain records, including all receipts, of all charitable donations listed in Schedule J.
 Section C             The debtor will make no direct payments to creditors holding prepetition claims. /or/
                       The debtor will make current monthly payments, as listed in the debtor's Schedule J-increased or de-
 Direct
 payment of        creased as necessary to reflect changes in variable interest rates, escrow requirements, collection costs, or
 claims by         similar matters-directly to the following creditors holding claims secured by a mortgage on the debtor's real
 debtor            property:
                            Creditor: RUSHMORE LOAN MANAGEMENT       , monthly payment,
                                                                                   SERVICES $900.00             ;
                            Creditor:                                , monthly payment,                         ;
                   If this box is    checked, additional direct mortgage payments are listed on the overflow page.
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Section D        1. Initial plan term. The debtor will pay to the trustee    $900.00         monthly for           36         months
                 [and                  monthly for an additional               months], for total payments, during the initial plan term,
Payments         of $32,400.00 . [Enter this amount on Line 1 of Section H.]
by debtor
to the           2.Adjustments to initial term. If the amount paid by the debtor to the trustee during the initial plan term does
trustee;         not permit payment of general unsecured claims as specified in Paragraphs 8 and 9 of Section E, then the
plan term        debtor shall make additional monthly payments, during the maximum plan term allowed by law, sufficient to
and comple-      permit the specified payments.
tion
                 3.Plan completion. The plan will conclude before the end of the initial term, as adjusted by Paragraph 2,
                 only at such time as all allowed claims are paid in full, with any interest required by the plan /or/
                       The plan will conclude before the end of the initial term at any time that the debtor pays to the trustee the
                 full amounts specified in Paragraphs 1 and 2.
Section E        The trustee shall disburse payments received from the debtor under this plan as follows:
Disburse-        1.Trustee's fees. Payable monthly, as authorized; estimated at 6.00 % of plan payments; and during the
ments by         initial plan term, totaling $1,944.00 . [Enter this amount on Line 2a of Section H.]
the
trustee          2.Current mortgage payments. Payable according to the terms of the mortgage, as set forth below, beginning
                 with the first payment due after the filing of the case. Each of these payments shall be increased or de-
                 creased by the trustee as necessary to reflect changes in variable interest rates, escrow requirements, or simi-
                 lar matters; the trustee shall make the change in payments as soon as practicable after receipt of a notice of
                 the change issued by the mortgage holder, but no later than 14 days after such receipt. The trustee shall no-
                 tify the debtor of any such change at least 7 days before putting the change into effect. Any current mort-
                 gage payment made by the debtor directly to the mortgagee shall be deducted from the amounts due to be
                 paid by the trustee under this plan.
                 (a) To creditor                                                , monthly payments of $              $0.00             .
                     These payments, over the term of the plan, are estimated to total       $0.00               .
                 (b) To creditor                                                , monthly payments of $              $0.00             .
                     These payments, over the term of the plan, are estimated to total       $0.00               .
                 If this box is checked, additional current mortgage payments are listed on the overflow page.
                 The total of all current mortgage payments to be made by the trustee under the plan is estimated
                 to be $           $0.00        . [Enter this amount on Line 2b of Section H.]
                 3.1.Other claims secured by value in collateral. All secured claims, other than mortgage claims treated above
                 and claims treated in Paragraph 3.2, are to be paid in full during the plan term, with interest at the annual
                 percentage rates and in the fixed monthly amounts specified below regardless of contrary proofs of claim
                 (subject to reduction with the consent of the creditor):
                 (a) Creditor                FEB-RETAIL                       Collateral:   Bed              .
                     Amount of secured claim: $1,599.00 APR 4.00 % Fixed monthly payment:            $15.00
                     Total estimated payments, including interest, on the claim: $1,767.00 Check if non-PMSI
                 (b) Creditor        UNITED CONSUMER FINL S                   Collateral:     Vacuum Cleaner        .
                     Amount of secured claim:       $740.53        APR 4.00 % Fixed monthly payment:        $15.00
                     Total estimated payments, including interest, on the claim:      $818.40     Check if non-PMSI
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Section E      If this box is checked, additional secured claims are listed on the overflow page. [All claims in the debtor's
               Schedule D, other than mortgages treated above and claims for which the collateral has no value, must be
Disburse-      listed in this paragraph.
ments by
the            The total of all payments on these secured claims, including interest, is estimated to be       $2,585.40        .
trustee
               [Enter this amount on Line 2c of Section H.]
               3.2.Other secured claims treated as unsecured. The following claims are secured by collateral that either
               has no value or that is fully encumbered by liens with higher priority. No payment will be made on these
               claims on account of their secured status, but to the extent that the claims are allowed, they will be paid as
               unsecured claims, pursuant to Paragraphs 6 and 8 of this section.
               (a) Creditor                        Chase                        Collateral: 8542 S Paulina, Chicago, IL 60620 .
               (b) Creditor                                                     Collateral:                  .
               If this box    is checked, additional claims covered by this paragraph are listed on the overflow page.

               4.Priority claims of debtor's attorney. Payable in amounts allowed by court order. The total claim of
               debtor's attorney is estimated to be $4,000.00 .[Enter this amount on Line 2d of Section H.]
               5.Mortgage arrears. Payable as set forth below, regardless of contrary proofs of claim, except that the
               arrears payable may be reduced either with the consent of the mortgagee or by court order, entered on
               motion of the debtor with notice to the trustee and the mortgagee. Any such reduction shall be
               effective 14 days after either the trustee's receipt of a notice of reduction consented to by the mortgagee
               or the entry of a court order reducing the arrearage.
               (a) To creditor                    RUSHMORE LOAN MANAGEMENT SERVICES                                       ,
                   arrears of     $33,000.00       payable monthly from available funds, pro rata with other mortgage arrears,
                       without interest /or/ with interest at an annual percentage rate of            %.
                   These arrearage payments, over the term of the plan, are estimated to total    $33,000.00      .
               (b) To creditor                                                                                            ,
                   arrears of                      payable monthly from available funds, pro rata with other mortgage arrears,
                       without interest /or/ with interest at an annual percentage rate of            %.
                   These arrearage payments, over the term of the plan, are estimated to total                    .
               If this box is checked, additional mortgage arrearage payments are listed on the overflow page.
               The total of all mortgage arrearage payments to be made by the trustee under the plan is estimated
               to be $33,000.00 . [Enter this amount on Line 2e of Section H.]
               6.Allowed priority claims other than those of the debtor's attorney. Payable in full, without interest, on a pro
               rata basis. The total of all payments on non-attorney priority claims to be made by the trustee under the plan
               is estimated to be         $0.00        . [Enter this amount on Line 2f of Section H.] Any
               claim for which the proof of claim asserts both secured and priority status, but which is not identified as se-
               cured in Paragraphs 2, 3.1, or 3.2 of this section, will be treated under this paragraph to the extent that the
               claim is allowed as a priority claim.
               7.Specially classified unsecured claim. A special class consisting of the following non-priority unsecured
               claim: shall be paid at         0.00         % of the allowed amount. The total of all payments to this special class is
               estimated to be          $0.00         [Enter this amount on Line 2g of Section H.] Reason for the special
               class:
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Section E      8.General unsecured claims (GUCs). All allowed nonpriority unsecured claims, not specially classified, in-
               cluding unsecured deficiency claims under 11 U.S.C. § 506(a), shall be paid, pro rata, in full, /or / to the
Disburse-      extent possible from the payments set out in Section D, but not less than          10.00       % of their allowed
ments by
the            amount. [Enter minimum payment percentage on Line 4b of Section H.] Any claim for which the proof of claim
trustee        asserts secured status, but which is not identified as secured in section C, or Paragraphs 2, 3.1, 3.2 or 5 of this
               section, will be treated under this paragraph to the extent that the claim is allowed without priority.
               9.Interest. Interest shall not be paid on unsecured claims /or / interest shall be paid on unsecured
               claims, including priority and specially classified claims, at an annual percentage rate of
                                     %. [Complete Line 4d of Section H to reflect interest payable.]
Section F      The trustee shall pay the amounts specified in Section E of this Plan in the following order of priority, with
Priority       claims in a given level of priority reduced proportionately in the event of insufficient plan payments: (1)
               trustee's fee; (2) current mortgage payments; (3) secured claims listed in Section E, Paragraph 3.1; (4) prior-
               ity claims of the debtor's attorney; (5) mortgage arrears; (6) priority claims other than those of the debtor's
               attorney; (7) specially classified non-priority unsecured claims; and (8) general unsecured claims.
Section G      Notwithstanding anything to the contrary set forth above, this Plan shall include the provisions set forth in
Special        the box following the signatures. The provisions will not be effective unless there is a check in the notice box
terms          preceding Section A.
Section H        (1) Total payments from the debtor to the Chapter 13 trustee                              $32,400.00
Summary               (subject to Paragraph 2 of Section D)
of               (2) Estimated disbursements by the trustee for non-GUCs (gen-
payments              eral unsecured claims):
to and
from the               (a) Trustee's Fees                                                                   $1,944.00
trustee                (b) Current mortgage payments                                                          $0.00
                       (c) Payments of other allowed secured claims                                         $2,585.40
                       (d) Priority payments to debtor's attorney                                           $4,000.00
                       (e) Payments of mortgage arrears                                                    $33,000.00
                        (f) Payments of non-attorney priority claims                                          $0.00
                       (g) Payments of specially classified unsecured claims                                  $0.00
                       (h) Total [add Lines 2a through 2g]                                                 $41,529.40
                 (3) Estimated payments available for GUCs and interest during                             ($9,129.40)
                      initial plan term [subtract Line 2h from Line 1]
                 (4) Estimated payments required after initial plan term:
                       (a) Estimated total GUCs, including unsecured defi-                                 $29,743.75
                            ciency claims under § 506(a)
                       (b) Minimum GUC payment percentage                                                   10.00         %
                       (c) Estimated minimum GUC payment [multiply line 4a                                  $2,974.38
                           by line 4b]
                      (d) Estimated interest payments on unsecured claims                                   $0.00
                      (e) Total of GUC and interest payments [add Lines 4c                                $2,974.38
                           and 4d]
                       (f) Payments available during initial term [enter Line 3]                         ($9,129.40)
                      (g) Additional payments required [subtract Line 4f from                            $12,103.78
                           line 4e]
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Section H        (5) Additional payments available:
Summary
of                      (a) Debtor's monthly payment less trustee's fees and cur-                                 $846.00
payments                     rent mortgage payments made by the trustee
to and
from the                (b) Months in maximum plan term after initial term                                          24
trustee                 (c) Payments available [multiply line 5a by line 5b]                                    $20,304.00
Section I           A check in this box indicates that the debtor consents to immediate entry of an order directing the
Payroll         debtor’s employer to deduct from the debtor’s wages the amount specified in Paragraph 1 of Section D and
Control         to pay that amount to the trustee on the debtor’s behalf. If this is a joint case, details of the deductions from
                each spouse’s wages are set out in Section G.

Signatures      Debtor(s) [Sign only if not represented by an attorney]
                                                                                                          Date:
                Debtor's Attorney/s/                           /s/ Kashwal Kaur                              Date: 10/11/2017
Attorney                            Kashwal Kaur
Informa-
tion            11101 S. Western Avenue
(name,          Number                              Street
address,
telephone,
etc.)
                Chicago                                  Illinois                                 60643
                City                                     State                                    Zip Code

                Cook
                County
                Contact phone                                                Email kkaur@semradlaw.com
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                                              Special Terms [as provided in Section G]

1. Commencing with the Aug 2018 plan payment, FEB-RETAIL shall receive set payments in the amount of $533.00 per month.
2. Commencing with the Aug 018 plan payment, UNITED CONSUMER FINL shall receive set payments in the amount of $313.00 per
month.
3. On or before April 20th, of the year, following the filing of the case and each year thereafter, the Debtor(s) shall submit a copy of the
prior year’s filed federal tax return to the Chapter 13 Trustee.
4. Debtor’s student loan debts owed to FED LOAN SERV/NAVIENT are currently in deferment and the Trustee shall not pay any claim
filed by FED LOAN SERV/NAVIENT.
5. Due to the lack of equity in Debtor's primary residence located at 8542 S. Paulina Avenue, Chicago, IL 60620, Chase second lien
(Account # 100001414511627308) will be paid as an unsecured creditor. Chase shall retain its junior lien (Account #
100001414511627308) on debtor's real property until the earlier of: a) the payment of the underlying debt under nonbankruptcy law; or
b) discharge under section 1328, at which time the lien shall be deemed released.
6. Debtor shall make direct payments to Credit Union 1 for its lien on 2014 Hyundai Elantra as specified in the terms of the underlying
retail installment contract.
